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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
______________________________
                              :
JENNIFER CANTONI,             :
                              :
          Plaintiff,          :          Civ. No. 17-7893 (NLH)(AMD)
                              :
     v.                       :          OPINION
                              :
CUMBERLAND COUNTY, et al.     :
                              :
          Defendants.         :
______________________________:

APPEARANCES:
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     Counsel for Defendant Cumberland County

HILLMAN, District Judge

      This case concerns claims of repeated sexual abuse that

Plaintiff Jennifer Cantoni, a former inmate at Cumberland County

Jail in Bridgeport, New Jersey, suffered at the hands of various

corrections officers at the jail.        At issue is Defendant

Cumberland County’s Motion to Dismiss, ECF No. 18, joined in by

Defendant John Berry, ECF No. 21, which is ripe for

adjudication.     The Court has subject-matter jurisdiction over


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this case pursuant to 28 U.S.C. § 1331, as this case concerns a

federal question.     For the reasons that follow, the Court will

deny the Motion.

I.    Factual Background

      Plaintiff Jennifer Cantoni was an inmate formerly

incarcerated in the Cumberland County Jail at all times relevant

to the Complaint.     See ECF No. 1, ¶ 1.      She now resides in

Millville, New Jersey.      Id. at 1.    In her Complaint, Plaintiff

alleges that she was repeatedly forced to engage in non-

consensual sexual acts by various corrections officers at the

Cumberland County Jail.      Id. at 2-7.    Pertinent to the instant

Motion, Plaintiff does not include any allegations regarding her

availment or exhaustion of administrative remedies as to the

claims raised in her Complaint.

II.   Standard of Review

      Rule 8 of the Federal Rules of Civil Procedure provides

that a complaint must set forth a claim for relief which

contains a short and plain statement of the claim showing that

the pleader is entitled to relief; the complaint must provide

the defendant with fair notice of the claim.          See Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007).          When considering a

Rule 12(b)(6) motion to dismiss, the court must accept as true

all factual allegations.      See Erickson v. Pardus, 551 U.S. 89,


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94 (per curiam).     The issue in a motion to dismiss is whether

the plaintiff should be entitled to offer evidence to support

the claim, not whether the plaintiff will ultimately prevail.

See Phillips v. County of Allegheny, 515 F.3d 224, 232 (3d Cir.

2008) (the Rule 8 pleading standard “‘simply calls for enough

facts to raise a reasonable expectation that discovery will

reveal evidence of’ the necessary element.”); Nami v. Fauver, 82

F.3d 63, 65 (3d Cir. 1996).

      The onus is on the plaintiff to provide a well-drafted

complaint that alleges factual support for its claims.           “While a

complaint attacked by a Rule 12(b)(6) motion to dismiss does not

need detailed factual allegations, a plaintiff's obligation to

provide the ‘grounds' of his ‘entitle[ment] to relief requires

more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.”          Twombly, 550

U.S. at 555 (alteration in original and internal citations

omitted).    The court need not accept unsupported inferences,

Cal. Pub. Employees Ret. Sys. v. The Chubb Corp., 394 F.3d 126,

143 (3d Cir. 2004), nor legal conclusions cast as factual

allegations, Twombly, 550 U.S. at 556.         Legal conclusions

without factual support are not entitled to the assumption of

truth. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(“Threadbare recitals of elements of a cause of action,



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supported by mere conclusory statements, do not” satisfy the

requirements of Rule 8).

      Once the court winnows the conclusory allegations from

those allegations supported by fact, which it accepts as true,

the court must engage in a common sense review of the claim to

determine whether it is plausible.        This is a context-specific

task, for which the court should be guided by its judicial

experience.    The court must dismiss the complaint if it fails to

allege enough facts “to state a claim for relief that is

plausible on its face.” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 570).     A “claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw a

reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678.          The complaint that

shows that the pleader is entitled to relief--or put another

way, facially plausible--will survive a Rule 12(b)(6) motion.

See Fed. R. Civ. P. 8(a)(2); Mayer v. Belichick, 605 F.3d 223,

229 (3d Cir. 2010).

III. Discussion

      Moving Defendants Cumberland County and John Berry seek the

dismissal of the claims against them based on Plaintiff’s

alleged failure to exhaust her administrative remedies.            See ECF

Nos. 18-1, 21.



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      The exhaustion of administrative remedies is a mandatory

prerequisite to any prisoner’s filing of a civil rights action

regarding prison conditions.       42 U.S.C. § 1997e(a); Woodford v.

Ngo, 548 U.S. 81, 85 (2006) (citing Booth v. Churner, 532 U.S.

731, 739 (2001)).     The PLRA’s exhaustion requirement, however,

does not apply when the plaintiff is not incarcerated.            See,

e.g., Ahmed v. Dragovich, 297 F.3d 201, 210 n.10 (3d Cir. 2002)

(“We note that every court of appeals to have considered the

issue has held that the PLRA does not apply to actions filed by

former prisoners”); Abdul–Akbar v. McKelvie, 239 F.3d 307, 314

(3d Cir.) (en banc) (noting that the PLRA exhaustion requirement

applies “only if the plaintiff is a prisoner at the time of

filing.”); Doe v. Washington Cty., 150 F.3d 920, 924 (8th Cir.

1998).   A plaintiff’s status as a prisoner for the purposes of

the PLRA is judged as of the time she files her complaint.            See

Defreitas v. Montgomery Cty. Corr. Facility, 525 F. App’x 170,

176 (3d Cir. 2013).

      Here, it appears that Plaintiff was not incarcerated when

she filed the Complaint.      See ECF No. 1 at 1.      As such,

Plaintiff had no obligation to exhaust her administrative

remedies prior to bringing the instant civil action, and the

Motion to Dismiss will therefore be denied.

IV.   Conclusion

      The Court will deny Defendant Cumberland County’s Motion to

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Dismiss, ECF No. 18, joined in by Defendant John Berry, ECF No.

21.   An appropriate order follows.



Dated: July 6, 2018                        s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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